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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Centro de Trabajadores Unidos, et al.,

            Plaintiffs,

              v.
                                                     Civil Action No. 25-677 (DLF)
 Scott Bessent, in his official capacity as
 Secretary of the Treasury, et al.,

            Defendants.



                   PLAINTIFFS’ SUPPLMENTAL MEMORANDUM
             IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                 [REDACTED]

        Pursuant to the Court’s minute order of April 16, 2025, Plaintiffs submit this supplemental

memorandum to address Defendants’ Memorandum of Understanding (MOU), which had not been

executed when Plaintiffs filed their motion for a preliminary injunction. The MOU confirms the

need for a preliminary injunction because it enables sharing of taxpayer information that 26 U.S.C.

§ 6103(i)(2) does not permit. Longstanding IRS precedent forbids the use of section 6103(i)(2) to

obtain a taxpayer’s address from the IRS.



                                                                         a preliminary injunction is

needed to avoid irreparable harm pending a final decision in this case. Plaintiffs below propose a

revised preliminary injunction order to address these concerns.

   I.      Section 6103(i)(2) does not allow the sharing of taxpayer address information.

        Section 6103(i)(2) authorizes the disclosure of certain taxpayer information to other

agencies without a court order. But the type of information that can be disclosed is limited. Returns

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may not be disclosed, and neither may taxpayer return information. See 26 U.S.C. § 6103(a), (b)(1),

(b)(3), (i)(2)(A). Instead, only return information that is not taxpayer return information is subject

to disclosure. See id. § 6103(b)(3), (i)(2). Although a taxpayer’s address is taxpayer return

information, an exception in section 6103(i)(2), enacted in 1978, provides that a taxpayer’s

identity, including the taxpayer’s address, should not be treated as taxpayer return information for

purposes of that provision, when other information is being provided. Id. § 6103(i)(2)(C).




       Internal Revenue Manual 11.3.28.5(4) provides that, in response to a request for taxpayer

information under 26 U.S.C. § 6301(i)(2), the IRS should:

            Disclose the name and address of the taxpayer under IRC 6103(i)(2) only if other than
            taxpayer return information is also requested. Requests for addresses only cannot be
            honored because IRC 6103(i)(2) requires that the requester provide an address.

(emphasis added). During the April 16 hearing, Defendants suggested that the foregoing policy

does not necessarily reflect the IRS’s official position on whether section 6103(i)(2) authorizes the

IRS to disclose a taxpayer’s address where no other information relevant to a criminal investigation

is sought. That is incorrect. The policy set out in the Internal Revenue Manual embodies a

longstanding agency position established by senior agency officials, the White House, and

Congress.

       When Congress first enacted section 6103(i)(2) in 1976, it did not authorize the IRS to

disclose a taxpayer’s name and address to prosecutors pursuing criminal matters. See Tax Reform



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Act of 1976, Pub. L. No. 94-455, § 1202(a), 90 Stat. 1520, 1676. Then, as now, section 6103(i)(2)

did not permit the IRS to disclose “taxpayer return information,” which is return information

furnished by or on behalf of the taxpayer. See 26 U.S.C. §§ 6103(b)(3), 6103(i)(2)(A). Congress

later recognized that “[i]n order for the IRS to transmit” the information that could be furnished

under section 6103(i)(2), “it is necessary, of course, to provide the name and address of the

taxpayer.” S. Rep. No. 95-745, at 61 (1978). “Because the taxpayer furnishes his name and address

on his return,” it was “arguable that the IRS would not be able to provide this information to the

Justice Department or other Federal agency, thus completely negating the purpose and operation”

of the provision. Id. Congress accordingly amended section 6103(i)(2) to “permit the IRS to

transmit … the name and address of a taxpayer along with return information … pertaining to, but

not furnished by or on behalf of, the taxpayer.” Id. at 63; see H.R. Rep. No. 95-700, at 53, 55

(same); Revenue Act of 1978, Pub. L. No. 95-600, § 701(bb), 92 Stat 2763, 2922 (1978).

       In 1982, the White House, the Treasury Department, and the IRS weighed whether section

6103(i)(2) permitted “disclosure of taxpayer information to the Selective Service to aid in the

prosecution of non-registrants.” Memorandum from Fred F. Fielding, Counsel to the President, for

Craig L. Fuller, White House Cabinet Secretary (Aug. 6, 1982), at 1 (Fielding Memo) (attached as

Exhibit A). The IRS had noted that, although “an argument can be made that the Service can

discuss current address information for the purpose of locating and prosecuting violators of the

Selective Service Act,” section 6103(i)(2) could “be read to support a different and much more

restrictive result.” Memorandum from Joel Gerber, Deputy Chief Counsel, IRS to Roscoe L.

Egger, Jr., Commissioner (Apr. 2, 1982), at 2 (attached as Exhibit B). Because “one prerequisite

for a proper request” is providing “the name and address of the taxpayer,” the requirement

presumes that the purpose of section 6103(i)(2) was to provide “information other than the



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taxpayer’s current address.” Id. Moreover, looking at section 6103 “as a whole,” “when Congress

intended for other agencies to receive address information, it specifically provided for such

disclosure.” Id. at 2–3. The IRS also observed that the legislative history of the 1978 amendment

“does not reveal any indication that Congress intended to open up a new source of information to

the Department of Justice,” but rather “was designed simply to correct a technical defect in the

statute.” Id. at 3.

        A subsequent memorandum to the general counsel of the Treasury Department reached the

same conclusion. Memorandum from John J. Kelleher to Peter J. Wallison, General Counsel,

Treasury Dep’t (May 11, 1982) (attached as Exhibit C). In addition, the memorandum noted that

permitting prosecutors to use section 6103(i)(2) to obtain location information conflicted with the

Reagan administration’s support for a bill that would later become section 6103(i)(5), “allow[ing]

disclosure of certain tax information” to locate fugitives from justice. Id. at 2. As the memorandum

explained, “It would seem that there would be no need for such a change if [the] Justice

[Department] could, under current law (section 6103(i)(2)), simply write to IRS and request the

current addresses of fugitives from Justice.” Id.

        On the basis of the foregoing analyses, General Counsel Wallison advised Treasury

Secretary Donald Regan against disclosing taxpayer address information “if the purpose of such

disclosure is to aid in the prosecution of non-registrants.” Memorandum from Peter J. Wallison,

General Counsel, Treasury Dep’t, to Treasury Secretary Donald Regan (May 17, 1982), at 1

(attached as Exhibit D). Likewise, the Fielding Memo conducted its own “preliminary review”

and, adopting the same analysis, recommended that “further action on the Administration’s

proposal to permit such disclosure [of address information] be postponed pending a thorough

review of the legal and policy issues presented.” Fielding Memo at 1.



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       Any lingering doubt about whether section 6103(i)(2) authorized the disclosure of taxpayer

address information where no other information relevant to a criminal investigation was sought

ended a few months later when Congress enacted Tax Equity and Fiscal Responsibility Act of

1982, Pub. L. No. 97-248, 96 Stat. 324. The 1982 law rewrote paragraphs (1) through (5) of section

6103(i) into substantially its current form. Id. § 356, 96 Stat. at 641. As relevant here, in enacting

section 6103(i)(5), Congress adopted the proposal supported by the Reagan administration to

enable the Department of Justice to seek and obtain a court order authorizing access to tax records

to locate fugitives from justice. See 96 Stat. at 644. In doing so, Congress recognized that, as the

administration had concluded, section 6103(i)(2) cannot be used for the purpose of locating

individuals for prosecution and that “taxpayer identity information [should] be treated as taxpayer

return information [i.e., ineligible for disclosure under section 6103(i)(2)] unless return

information (other than taxpayer identity information) is requested and disclosed.” H.R. Rep. No.

97-760, at 674 (1982). By enacting section 6103(i)(5), Congress definitively foreclosed use of

section 6103(i)(2) “to obtain current addresses of fugitives or other subjects of non-tax criminal

investigations.” Fielding Memo at 1.

       This history shows why the IRS is not permitted to provide only taxpayer addresses. And

immigrants have reasonably relied on the IRS’s longstanding promise of confidential treatment

when obtaining individual taxpayer identification numbers (ITINs) and filing their tax returns.

When the IRS first adopted the ITIN program in 1996, it assured immigrant taxpayers that,

generally, “tax returns and tax return information are confidential, as required by 26 U.S.C. 6103.”

61 Fed. Reg. 26788, 26788 (1996); see also 60 Fed. Reg. 30211, 30213 (1995) (proposed rule

stating, “Section 6103 strictly prohibits the disclosure of [ITIN] information to other government

agencies, private entities, or citizens.”). As former IRS commissioner Mark W. Everson explained



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to Congress, the IRS is “broadly restricted under Section 6103 of the Code from sharing taxpayer

information with third parties, including other government agencies, except in very limited

circumstances,” and that “any sharing of confidential taxpayer information, directly or indirectly,

with immigration authorities would have a chilling effect on efforts to bring ITIN holders, and

potential ITIN holders, into the U.S. tax system.” Social Security Number and Individual Taxpayer

Identification Number Mismatches and Misuse: Hearing before the Subcomms. on Oversight & on

Social Security of the H Comm. on Ways and Means, 108th Cong., 2d Sess. 12 (2004). A decade

later, another IRS commissioner echoed the same sentiment about the loss of trust that would arise

if the IRS did not protect immigrant data: “If we start pursuing employers and undocumented

aliens, then nobody is going to file their taxes because that will be another exposure point. And

the decision was made so long before I got here that it was in the government’s interest for

undocumented citizens to pay taxes to the extent that they want to.” The Internal Revenue Service’s

Response to Committee Recommendations Contained in its August 5, 2015 Report: Hearing before

the S. Comm. on Finance, 104th Cong., 1st Sess. 28 (2015) (testimony of IRS Commissioner

Koskinen).

       Congress has also understood that section 6103(i)(2) protects immigrant taxpayers from

having their tax information used against them in the enforcement of the immigration laws. For

instance, during congressional debates on comprehensive immigration reform in the mid-2000s,

Senator Nelson proposed to amend section 6103(i) to authorize the IRS to disclose return

information for investigations that may lead to the “civil or criminal enforcement proceeding

against an alien.” 152 Cong. Rec. S2825 (Apr. 6, 2006); 152 Cong. Rec. S4988 (May 23, 2006).

Congress, however, has not enacted such an amendment, or any other amendment directed at




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immigration enforcement, despite amending section 6103 more than 75 times to address other

policy concerns.

        In light of the foregoing history, there is no basis for Defendants’ suggestion that the policy

against disclosing taxpayer address information set out in the Internal Revenue Manual reflects

anything other than the agency well-established view of the limits of section 6103(i)(2)—or for

any suggestion that any reliance by immigrant taxpayers on the IRS’s adherence to those limits

was unreasonable. Accordingly, to the extent the IRS and DHS have agreed to share taxpayer

address information to locate immigrants to facilitate the administration’s mass deportation

agenda—as opposed to sharing such information in connection with a proper, individualized

request under section 6103(i)(2) for other types of evidence relevant to an ongoing criminal

investigation—their agreement cannot be reconciled with section 6103(i)(2) and should be

preliminarily enjoined.

II.     The Court should adopt Plaintiffs’ revised proposed order.

        Plaintiffs submitted their proposed preliminary injunction order before Defendants

finalized their MOU to enable sharing of taxpayer information. In light of the MOU, Plaintiffs

hereby submit a revised proposed order as an attachment. The revised proposed order seeks to

prevent the irreparable harm that would arise if the IRS were to depart—without reasonable

explanation—from its traditional position that address-only information is not the proper subject

of a section 6103(i)(2) request, by maintaining the status quo as to that policy pending the final

resolution of this action.

        At the same time, the revised proposed order does not flatly bar all sharing arrangements

that between DHS and the IRS where consistent with Congress’s intention to allow limited

information disclosures for purposes of a criminal investigation or proceeding, and subject to

safeguards to avoid the improper sharing of information for civil immigration enforcement. The
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revised proposed order requires the request for information to be made in good faith for the purpose

of seeking evidence (and not taxpayer addresses) relevant to an actual criminal investigation, and

guards against the risk of the information being improperly used for non-criminal matters. The

revised proposed order also provides that any information sharing that occurs must occur pursuant

to the MOU or an amendment thereto to prevent the use of other arrangements to achieve the type

of unlawful sharing at issue in this litigation.

                                           CONCLUSION

        The Court should grant the motion for a preliminary injunction.


Dated: April 23, 2025                                    Respectfully submitted,

                                                         /s/ Nandan M. Joshi
 Kevin L. Herrera                                        Nandan M. Joshi
   (admitted pro hac vice)                                 (DC Bar No. 456750)
 Mark H. Birhanu                                         Michael T. Kirkpatrick
   (admitted pro hac vice)                                 (DC Bar No. 486293)
 Raise the Floor Alliance                                Public Citizen Litigation Group
 1 N. LaSalle Street, Suite 1275                         1600 20th Street, NW
 Chicago, Illinois 60602                                 Washington, DC 20009
  (312) 795-9115                                         (202) 588-7733
 kherrera@raisetheflooralliance.org                      njoshi@citizen.org

                                                         Alan B. Morrison
                                                           (DC Bar No. 073114)
                                                         George Washington Law School
                                                         2000 H Street, NW
                                                         Washington, DC 20052
                                                         (202) 994-7120
                                                         abmorrison@law.gwu.edu

                                        Counsel for Plaintiffs




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Centro de Trabajadores Unidos, et al.,

            Plaintiffs,

              v.
                                                  Civil Action No. 25-677 (DLF)
 Scott Bessent, in his official capacity as
 Secretary of the Treasury, et al.,

            Defendants.


    [REVISED PROPOSED] ORDER GRANTING A PRELIMINARY INJUNCTION

       Upon consideration of Plaintiffs’ motion for a preliminary injunction, the opposition of

Defendants, and the full record before the Court including the hearing held on April 16, 2025, and

the supplemental submissions of the parties, it is hereby

       ORDERED that Plaintiffs’ motion for a preliminary injunction is GRANTED, as

provided herein.

       It is further ORDERED that, pending the final resolution of this action, except as provided

below, (1) Defendants Secretary of the Treasury Scott Bessent, the Internal Revenue Service (IRS),

and the acting Commissioner of Internal Revenue are enjoined from disclosing any returns or

return information to the U.S. Department of Homeland Security (DHS), Secretary of Homeland

Security Kristi Noem, U.S. Immigration and Customs Enforcement (ICE), and acting ICE Director

Todd M. Lyons, or to persons acting at their direction or on their behalf; and (2) Defendants DHS,

Secretary Noem, ICE, and acting Director Lyons are enjoined from inspecting or using any returns

or return information obtained from Secretary of the Treasury Scott Bessent, the Internal Revenue

Service, or the acting Commissioner of Internal Revenue.
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       It is further ORDERED that the foregoing prohibitions of this Order do not apply to

information furnished pursuant to a court order.

       It is further ORDERED that the foregoing prohibitions of this Order do not apply to a

request that (1) does not seek the taxpayer’s identity (including the taxpayer’s address),

(2) includes an address for the taxpayer that the agency head (or the individual providing the

information to the agency head) has a good faith belief is an actual address for that taxpayer and

the address matches the address for the taxpayer in IRS records for the tax years at issue, (3) seeks

information relevant to an actual pending investigation or proceeding involving a criminal statute

to which 26 U.S.C. § 6103(i)(2) relates and that is identified in the request, and (4) otherwise

complies with 26 U.S.C. § 6103(i)(2).

       It is further ORDERED that, with respect to information obtained under the preceding

paragraph, the information (1) may not be used for civil immigration enforcement and (2) must be

destroyed or returned to the IRS if the criminal investigation or proceeding concludes without an

arrest on criminal charges of the individual to whom the information pertains.

       It is further ORDERED that (1) any disclosure under § 6103(i)(2) must be made pursuant

to Defendants’ Memorandum of Understanding (MOU) and (2) any amendments to the MOU shall

not be effective until 14 days after a copy thereof is provided to Plaintiffs’ counsel.

       A copy of the redacted MOU is attached to this Order.

SO ORDERED.

Dated: ______________, 2025                            _____________________________
                                                       DABNEY L. FRIEDRICH
                                                       United States District Judge




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


Centro de Trabajadores Unidos, et al.,

           Plaintiffs,

             v.
                                                    Civil Action No. 25-677 (DLF)
Scott Bessent, in his official capacity as
Secretary of the Treasury, et al.,

           Defendants.


                         DECLARATION OF NANDAN M. JOSHI

      I, Nandan M. Joshi, declare as follows:

      1.      I am an attorney at Public Citizen Litigation Group and represent the plaintiffs in

              this action.

      2.      Exhibit A hereto is a Memorandum from Fred F. Fielding, Counsel to the President,

              to Craig L. Fuller, White House Cabinet Secretary, dated Aug. 6, 1982.

      3.      Exhibit B hereto is a Memorandum from Joel Gerber, Deputy Chief Counsel,

              Internal Revenue Service, to Roscoe L. Egger, Jr., Commissioner of Internal

              Revenue, dated Apr. 2, 1982.

      4.      Exhibit C hereto is a Memorandum from John J. Kelleher to Peter J. Wallison,

              General Counsel, Treasury Department, dated May 11, 1982.

      5.      Exhibit D hereto is a Memorandum from Peter J. Wallison, General Counsel,

              Treasury Department, to Secretary of the Treasury Donald Regan, dated May 17,

              1982.

      6.      The foregoing exhibits were excerpted from the Ronald Reagan President Library

              Digital Library Collections, Richard A. Hauser Collection, Box OA10601, Folder:

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              Selective   Service/Social    Security     Number     (2),   available   online   at

              https://www.reaganlibrary.gov/public/2024-07/40-233-12008797-OA10601-003-

              2023.pdf. The exhibits consist of pages 7–8, 34–36, and 40–47 of the PDF

              document available at that address.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.


                                                    /s/ Nandan M. Joshi
                                                    Nandan M. Joshi
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                            EXHIBIT A
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                           THE WHITE HOUSE
                             WASHINGTON
                             August 6, 1982




MEMORANDUM FOR CRAIG L . FULLER
                                     ""''
FROM:            FRED F. FIELDING' ~
                                      ~

SUBJECT:         IRS Disclosures of Address Information to
                 Selective Service System in Aid of    •
                 Criminal Prosecutions

                                 I
                                 \
Recently the Internal Revenue Service, at the request of the
Selective Service System, forwarded warning letters to non-
registrants who had filed tax returns. If these non-registrants
fail to respond, it is contemplated that the addresses of the
non-registrants will be turned over to the Department of
Justice and Selective Service System to aid in possible
criminal prosecutions.

This office has conducted a preliminary review of the legal
issues raised by Internal Revenue Service disclosure of
taxpayer information t _o the Selective Service System to aid in
the prosecution of non-registrants. For the reasons stated
below, we urge that futher action on the Administration's
proposal to permit such disclosure be postponed pending a
thorough review of the legal and policy issues presented.

Our recommendation to commit the proposal to further study is
based on the following considerations:
        0
          The Internal Revenue Code prohibits the IRS from
        disclosing tax return information to facilitate non-
        tax criminal investigations by other Federal agencies
        except under limited conditions. While the relevant
        Code section [6103(i)(2)] can be read literally to
        permit disclosure of current address information to
        agencies filing written requests with the IRS, we are
        concerned that this literal interpretation of§ 6103(i)(2)
        conflicts with the Justice Department's legislative
        proposal to amend§ 6103(i)(l) to permit disclosure
        of current addresses of fugitives from Justice. There
        would appear to be no need for such a change if Justice
        could, under§ 6103(i)(2), simply \ write to IRS to obtain
        current addresses of fugitives or other subjects of non-
        tax criminal investigations, including non-registrants.
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     0
      An examination of 26 U.S.C. § 6103 as a whole suggests
    that where Congress intends for Federal agencies to
    receive taxpayer address information, it specifically
    provides for such disclosures [ ~ . , for child support
    purposes, 26 U.S.C. § 6103(i) (6), and for persons who
    have defaulted on student loans, 26 U.S.C. § 6103(m)(4)].
    When Congress passed the Department of Defense Authori-
    zation Act of 1982, Pub. L. 97-86, it authorized HHS to
    furnish Social Security information to Selective Service,
    but deleted language authorizing the IRS to furnish
    Selective Service with more current addresses than are
    available in Social Security records.
     0
        Given the absence of explicit authority for IRS
      disclosure of rion-registrants' addresses, such
      disclosure will certainly be challenged by the affected
      individuals as an illegal invasion of their privacy.
      Opponents of draft registration have demonstrated a
      sophisticated understanding of Federal privacy laws,
      and have already forced Congress to amend certain regi-
      stration provisions that the courts had deemed violative
      of the Privacy Act of 1974. Any or all of the estimated
      550,000 non-registrants could challenge the IRS' disclosures
      under 26 u.s.c. § 7217, which estaQlishes a minimium
      damage award of $1,000 per plaintiff in class actions
      proving unauthorized disclosures. Although§ 7217(b)
      states that no liability arises with respect to good
      faith but erroneous interpretations of 26 u.s.c. § 6103,
      a court decision ~gainst the Government in any§ 7217
    • action could, in light of the potential class of persons
      involved, result in a substantial damage award.
     0
       The benefits from IRS disclosure of non-registrants'
     addresses are not readily apparent. Selective Service
     has already received from HHS the names and current
     addresses of more non-registrants than it is capable of
     prosecuting.                  •

For the foregoing reasons, we urge postponement of action
requiring IRS disclosure of taxpayer addresses for prosecution
purposes pending further legal analysis and consideration of
the policy issues presented.


Approve

Disapprove

Comment
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                            EXHIBIT B
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                 APR 1982
 d2ie:
              Roscoe L. Egger Jr.
    10:
              Commissioner                                  "Ro~
                                       ~~ JOEL G :.. ~
                                       '5i,2.i 1c;-.,•

              Joel Gerber
 from:                                                          cc
              Deputy Chief Counsel


J~ject:
              Disclosure to -:.be Se1ective Serv.ice System

              The purpose of this memorandum is to advise you on whether the
           Service is permit1ed to disclose certain address information from the
           Individual Maste:- File to the Selective Service Svstem. After careful
          _consideration, it is my opinion tr.at although support can be found to
           justify such c..isclosures, the mort defensible legal position is that the
           disclosures cannot be made.                                    •

                                                               FACTS

             On Jar.ua.ry 7, 1ns2. President Reagan announced hls decisio:::i to
          continue the mUi~.sry re[;istration program promulgated under the Militery
          Selective Se::--·.icc- l1ct. The program requires that all mer. born 0::1 or
          since January l, }£160 register with the United States Post Office within
          30 days of their C'.igh1ec-:::ith _birthdc:y. Upon conviction for noni:-omplia:1ce
          with the pro~rn;TJ. ;-i non-registr2nt mny be punished by impri~on::::ent for
          Dot more than five years or a fine of not more tl::an $10. 000. or by both.
          50 U .S.C. App. §4G2.

               1n order to i:::-:iplement the registration program, tb~ President has
           directed the Secre1ary of Health and Human Ser·vices to furnish the
           Selective Ser,ice System with Social Security Account Number data
           that can be us~c to identify possible non-registrants. This dat2. will be
           matched with the Selective Service registration files in order to identify
           violators. lt is our understanding that the Selective Service, acting
           tiirougb the Department of Justice, may then submit a request to
           the Service pursuant to 1.R.C. § 6103(i)(2) i.D order to obtain taxpayer
           address inform2tion in a further effort 10 l<;>cate and prosecute violators
           of the program.
                                              RELEVANT ST ATlJTORY PROVlSlONS

                 Section 6103(i°) v.as added to the Intern2.l Re:,venue Code by the Tal:
           Reform A~t of 1976 in order to limit the circ~mstances under which other
           Federal agencies could obtain tax inforrr.2tion for use in nont?.:x c.ises. i'rjo~
           to that time, atturneys of the Dep2rtment of Justice co11)d h,we virtuall)·
           u ri re st r i c-1 e d ir1 c cc s s t 'o l RS fi 1<:' [, w h fT c n (:' c e s E c: r y in th e p e r for- m:: n c c of
           their- offici~l du:ies. 26 C.F.R. § ::S0LG103(c:)-l(f) 2.nd (t'.) (19'i'G). UnL.ler
:a
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 present law. the Department of Justice ~ay obtain tax data only for nontax
 criminal cases, and theD only after it follows specifically enumerated
 procedural requirements set forth in the statute. These procedures specify
 that information obtained from the taxpayer or the taxpayer's r~presentative
 may be disclosed only after the grant of an ex parte order !rom a Federal
 district court judr;e. Information obtained from sources other tbc:.n the t~aye;
 or the taxpayer's represe.ctati•e may be disclosed only upon a written request -
 that specifies the name and address of the taxp2yer, the kind of ta:x involved,
 the taxable pl·riod involved, and the reason why inspection is desired.         •

      ln 1978, the Cong::-ess revjP.wed the p:-ocedures which regulated the
 circumstances in which the Service could disclose informc>.tion under section
 6l03(i)(2). At that time. it recognized th2t if the Service was to respond
 to a written request for information which was not furnished by or on behalf
 oft.be taxp::i.yl:,, .it cot.!ld not, as a pr.:ictic.al matter, transmit the information
 without providing the nar:ie and address of the requeste_d individual. Si.nee
 the ultimate source of the name and address would have been the taxpayer's
 retur.o, a 1erhnic.:i1 argument existed that the S€rvice could not provide the
 infc-rmation without an ex partP. court oraer. This would, of course, hcJ.ve
 completely Degated the purpost: and open.tion of the written ·request provision.
 As a result, section 6103(i}(2) was ame:oded so that if the Service received
 a proper wr.itten request, it could disclose name and address information
 under the s2.rne circumstances that it could dis close other information which
 was not receivec f::--orn or on beI-:--..lf of the taxpayer. Pub. L. No. gs-600·.
  S 701 (b)(b)(3), P2 Stat. 2922 (1978). 1978-3 C.B. 156 (Vol. 1): S. Rep. No.
 95-745. £l5th Cong., 2nd Sess. 61. 63 (1978); H. Rep. No. 95-700,
 9 5th COD r,. . ls t S <> s s . 5 3 , 5 5 (19 7 7).

                                      ANALYSIS

      Upon re . . -~cw, li. is n:.y opinion th2.t the Uteral langunge of thE 2.mended
  section 6JCJj(j)(2) can be re2.d to perrnjt t:le disclosure of current addrt'SS
  informatjon for- the administration of nomax Federal criminal laws. As
  presently written, the statute place:s an 2.ffirmative obligation on the Service
  to transmit return information (other th~ 1axp2:)"er return inforr::-iation) upo~
  receipt of a propt•r written requ1.~~t. Tht st2tutE- also specifi caUy statE-s
  that "the na::.e: and address of the taxpayer shall not b~ treated as taxpayer
  return info::--m2tio:.. 11 Should the Depart::1ent of Justice file 2 request pursuar.t
  to section Cl03(i)(2), an argument cc.n be made that the Service can disclose
. current address i:iformation for the purpose of locatinr; anc:l prosecutL.,b
  violators of the f,::1ective Service Act. l have bc·en achri~ed tl:at such
  an inteq:,r~tr-itj o:: l1a!:, in fa ct, be en adop:ed by the Scr . . -i c:c ~o c1f=; to permit
  the disclosure: oi address inioJ·ma ti on in other, more l imi'!.e d, s it'L.!2.tio:-.s.

         However. i, is &lso my view the statr.te can be re~d to support c di~ferc:1~
     end much mo:re rcstrj ctlve result.        For ex2mple, one p1·creq:1ishe for .
     a proper requr:st l.:ncier sectio:1 6103(i)(2) js that the Dc·partment of Justice ·
     provide 1hc· rnn-:-1c ;md uddresf. of the 1a>:Y"yer wjtli respec-t 10 wlio.:n it wishes
     to obtain inforrr, c ti on. This r~qui rtrn en~ presumes th3 t the purpo~ c o~ sect ion
     6)03(i)(2) was to provide the: Dcp~rtnient of Jus,icC' with inform2t:o:1 o~her-
     than the taxpayer's cu:rre:it address. Th.is ,rjew is sup;:,o,ted lJy an cx:::1ir.2tici~
     of section' 6103 ~s a whole, for such an c:c.mir.ation suggc:sts th2.t v.hc-n Co:ir:--[·~s
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 intendc-d for other agencies to receive address information, · it specifically
 provided for s-uch disclosures. See sections 6103(1)(6) and (m). The
 most compelling argument in favor of nondisclosure of address information
 is the rationale for the adoption of the change to section 6103(i)(2) in
1978. Prior to this amendment. there was no question that the Service
 could not provjde address data from the Individual Master File to the
Department of Justice for nontax criminal purposes simply upo::::i written
request. Instead, the Department of Justice could receive such data
only after obtaining an ex parte order pursuant to section 6103(i)(l). ThE:
legislative history for the 197 8 change does not reveal any indication
that Congress intended to open up a new source of information to the
Department of Justice. The amendment was designed simply to correct
a potential tecbni cal defect in the statute which could be read to prevent
the Service fro:n effc ctively 1ransmitting identifiable information pu!"suant
to a proper request.
       •· .                              ...          "                                      I
 .··y would note that if the Service concludes it can disclose current address             - i
information to the Selective Ser\.ice System, such action will ce:rtain1y be                 I
challenged by the ~ffe cted ind.ivi duals as an unwarranted, and possibly                    I!
illegal. invasion of their individual privacy. Those opposed to draft registra-
tion have demonstrated a sophisticated understanding of Federal privacy laws,
and have a1ready forced Congress 10 amend the registration provisions
because suc:h provisjons we-re being carried out in violation of the Privacy
Act of 1974. Pub. L. No. 97-86. ~ 916, 95 Stat. 1129 (198)). overrulicg
Wolman v. United ~:;ites of Ame:-ica, Se)ective Service Svstern, 501 F. Supp.
310 (D.D.C. rnsc,,. ,.1'he Selective Service System estimates that there &re
approximately 5~0, CJ00 indhidua1s in the non-registrant category. Any or
all of. these indiv.id:;::ls could chc;llenge the Service's participation ir.
the rcgistr2.tioD prq:ram under he civil damage provisions of se-c:tion
7217 by claiming th3t the resulting disclosures were not permitted by
section 6103. .5t>ction 7217 prlnides for actual and punitive c:~.e1gts
for unautho::-ized di~cl0sur~s. and also est~bi.isi1es a minjmurn damage
award of $1000 for such ci.i:;closures. Alth0ugh section 72l 7(b) st2tes
that n .... lii:si.>ility ari~es with resp~c. to a good faith but erroneous 1nterpre-
tat1on 01 se-cflon 61Cn. a court           •          1   e overnment in any section
 , l, ac-ti-:::n c:ou . 1n ight of the po~ential class of m ivj ua s 1nvo veo,
result in a substantial damage award.

                                       CONCLUSJON

    Section 6l0~(i)(2) c~n be literally read 1o permit the disclosure- of current
address data to the Department of Justice to locate and prosecute individuals
for failing to regi~1<':r- unc.Jer the Stlective Service Act. However, such nn
interpretation is vulnerc:sble to attack, since an overall reading of ~ection
6103 and its legislat>ve history would fovor the opposi1e rts11lt. Althour,h
either interpretiJtion can be suppor',ed. the Government would bt> subject tr,
substantial darnnpt·s in this cast- if the courts do not upbo)c.: r. liH:ral reading
of tht statute.
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                             DEPARTMENT OF THE TREASURY
                               OFFICE OF THE GENERAL COUNSEL
                                    WASHINGTON. D.C . 20220



TO:     Peter J. Wallison
        General Counsel                                       MAY 111982
FROM:   John J. Kelleher'(/~((


SUBJECT:      Disclosure to the Selective Service System


     This is in response to your request for an analysis of
whether the Internal Revenue Service may disclose certain address
information from its Individual Master File to the Selective
Service System in connection with ~he Selective Service's program
to identify and locate possible non-registrants under the
Military Selective Service Act.

      The Deputy Chief Counsel of the IRS in a memorandum dated
April 2, 1982, (copy attached at Tab A) to the Commissioner set
out the facts and relevant statutory provisions concerning this
matter and, following a comprehensive legal analysis, concluded
that although support can be found to justify such disclosures,
the more defensible legal position is that the disclosures cannot
be made.   The Deputy Chief Counsel noted that the literal lan-
guage of the amended 6103(i)(2) can be read to permit disclosure
of current address information for the admin.istration of nontax
federal criminal laws, and that such an interpretation has, in
fact, been adopted by the IRS so as to permit the disclosure of
address information in other, more limited, situations.   However,
he pointed out that one prerequisite for a proper request under
section 6103(i)(2) is that the requester provide the name and
address of the taxpayer about whom it wishes to obtain informa-
tion.   This requirement presumes that the purpose of the section
is to provide the requester with information other than the
taxpayer's current address.

     In addition, the IRS memorandum states that in the past when
Congress intended for other agencies to receive address
information, it specifically provided for such disclosures (e.g.,
for child support purposes (6103(1)(6)) and for individuals who
have defaulted on student loans (6103(m)(4))).  And, more
importantly, the legislative history of the 1978 change to
section 6103(i)(2) does not reveal any indication that Congress
intended to open up a new source of information (address
information) to Justice or other agencies.

     Finally, the IRS memorandum points out that pursuant to the
civil damages provision of section 7217, the Government could be
subjected to substantial damages (a minimum of $1,000 to each
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plaintiff entitled to recover with respect to each instance of
unauthorized disclosure} if the courts do not agree with the
Government's position . Section 7217(b} does provide, however, as
IRS points out, that no liability arises with respect to a good
faith but erroneous interpretation of section 6103.  Reliance
upon an opinion from counsel would not necessarily, by itself,
establish such a defense.

     The IRS memorandum concludes, as noted above, that although
support can be found to justify IRS disclosure of address infor-
mation in this instance, the more defensible legal position is
that the disclosures cannot be made.    It is clear from the
analysis that there is no easy, clear-cut answer to the question
of whether such disclosures are permissible.    There are, however,
two additional factors which appear to be relevant to the consid-
eration of the question and which were not mentioned in the IRS
memorandum.  The first factor would seem to tilt the balance
toward nondisclosure while the ' second would appear to provide
support for either interpretation.

     The first factor involves the current efforts being made to
amend section 6103.  As you know, Senator Roth has introduced a
bill (S. 1891), strongly supported by the Administration, which
would make a number of significant changes in section 6103.   One
of those changes would permit Justice Department officials to
seek a court order under section 6103(i}(l} to allow disclosure
of certain tax information if Justice shows that an arrest
warrant has been issued for an individual who is a fugitive from
Justice, the information is sought exclusively for use in
locating such individual, and there is reasonable cause to
believe that the information may be relevant to determining the
location of the individual.

     It would seem that there would be no need for such a change
if Justice could, under current law (section 6103(i}(2}), simply
write to IRS and request the current addresses of fugitives from
Justice.   And if, as could be argued, the change is suggested
only to clarify current law, then it implies that the addresses
of fugitives may currently be obtained only pursuant to court
order (under section 6103(i}(l}} and not pursuant to written
request from the head of an agency (section 6103{i)(2)).   The
Selective Service proposal, as you know, contemplates obtaining
the address information by written request pursuant to section
6103(i)(2).

     The second factor to consider in deciding whether IRS may
disclose the address information involves recent Congressional
action taken to amend the Military Selective Service Act.  In
Wolman v. United States of America, Selective Service System, 501
F.Supp. 310 (D.D.C. 1980), the district court for the District of
Columbia ruled that there was no legal authority in the Selective
Service System to require registrants to furnish their individual
Social Secu~ity numbers as a condition of valid registration.
Legislation was thereafter introduced and passed in Congress
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which permits such use of the Social Security numbers (Pub.L. No.
97-86, §916, 95 Stat. 1129 (1981)). The legislative history of
Public Law 97-86 is instructive concerning the question of
whether IRS may disclose current addresses of non-registrants.

     Public Law 97-86, the Department of Defense Authorization
Act of 1982, involved primarily the appropriations for fiscal
year 1982 for the Armed Forces.  It also contained amendments to
the Military Selective Service Act. The Senate bill (S. 815) was
passed in lieu of the House bill (H.R. 3519) after much of the
Senate bill's language was amended to contain much of the text of
H.R. 3519.  The Selective Service changes which were enacted, as
will be explained more fully below, came from the House bill.

     s. 615, as originally introduced, contained provisions which
would allow the Director of the Selective Service System to
require registrants to provide their Social Security numbers
(legislatively overruling the Wolman decision) and, more
importantly for the current discussion, would allow the Director
access to information in the records of any other department or
agency of the federal government pertaining to the names, ages
and addresses of persons required to register.   Both provisions
were dropped from S. 815 on May 13, 1981, following a floor
amendment by Senators Jepsen and Exon.  The floor debates (copy
of the debates attached at Tab B) indicate that several Senators
raised the question of the suitability of these provisions
regarding the Selective Service and access to Social Security
records appearing in S. 815, and felt that such matters should be
considered as an independent matter.

     Of significance for the current question is the following
paragraph from Senate Report Nu~ber 97-58 (page 150) (copy
attached at Tab C), from the Armed Services Committee, which
accompanied S. 815:

          In the view of the Selective Service System, it is
     essential that the list of registrants be matched by
     Social Security number with Social Security records by
     year of birth for the purpose of identifying those who
     apparently violated the Military Selective Service Act.
     The next step would involve obtaining the current
     addresses of non-registrants from the Internal Revenue
     Service (IRS) because the addresses contained in the
     Social Security file are generally not current. The
     acquisition of current addresses from IRS files is
     currently authorized by the U.S. Code which, in 26
     u.s.c. and 6103(i)(2), explicitly states that a
     taxpayer's name and address are not treated as taxpayer
     return information when an agency head requests them
     for use in an administrative or judicial proceeding.
     In fact, many government agencies utilize this IRS
     information for several purposes and the IRS utilizes
     the Social Security file for income tax enforcement.
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Thus, at least in the view of the Senate Armed Services
Committee, the IRS is authorized under current law (section
6103(i)(2)) to provide the current addresses of non-registrants.

     H.R. 3519 was introduced May 12, 1981 (a copy of the
relevant portions of H.R. 3519 is attached at Tab D) . H.R. 3519
had three main provisions to facilitate Selective Service regis-
tration:

     1.  Registrants could be required to provide their Social
Security number.

     2.  The President was given authority to require the
Secretary of Health and Human Services to furnish to the Director
of the Selective Service, from records available to the Secretary
of HHS, the name, date of birth, Social Security number and
address of those required to register.

     3.   In order to enforce the Selective Service Act and to
ensure the registration of all persons required to register, the
President was given the authority to require the Secretary of the
Treasury to furnish to the Director ~f the Selective Service,
from records available to the Secretary, the address of any
individual whose name is furnished to the Secretary by the
Director.

     The first two provisions passed the Congress (following a
conference where the Senate receded to the House on these pro-
visions) and are part of Public Law 97-86.   It is pursuant to
this authority that the President has directed the / Secretary of
HHS to furnish the Selective Service System with the Social
Security account number data that can be used to identify
possible non-registrants. However, the third provision,
permitting the President to require the Secretary of the Treasury
to furnish the Director of the Selective Service with the
addresses of individuals for the purpose of enforcing the
registration requirements, was dropped from H.R. 3519 pursuant to
an amendment offered by Congressman Nichols on July 15, 1981, and
is therefore not a part of Public Law 97-86.   The House Armed
Services Committee favored allowing the IRS to provide current
adresses and stated, in House Report Number 97-71, Part I (page
161) (copy attached at Tab E), which accompanied H.R. 3519, that
it considered it "an appropriate purpose for the government to
use identifying information within its control for the purposes
of enforcing the registration requirement."   However, the House
Ways and Means Committee succeeded on the floor in getting the
House to drop the third provision. The floor debates, and House
Report Number 97-71, Part 3, from the Committee on Government
Operations, to which H.R. 3519 was also referred, indicate that
Congress did not necessarily believe it to be inappropriate for
the Selective Service System to have access to current addresses
within the control of the Government to enforce the registration
requirement, but that such authority should only be given after a
formal Administration request for a legislative remedy, separate
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examination of the issue, public hearings and by amendment of
section 6103.  (A copy of the relevant floor debates from July
15, 1981, and a copy of the relevant portions of House Report No.
97-71, Part III, are attached at Tabs F and G respectively.)

     The legislative history of Public Law 97-86 set out above
makes it clear that Congress within the last year considered the
question of whether IRS should provide to the Selective Service
the current addresses on non-registrants under the Military
Selective Service Act.  It could be argued that since both the
House and Senate bills had provisions authorizing such action,
and since, for whatever reasons, both houses dropped those pro-
visions, Congress has indicated its disapproval of such IRS
action.  However, it could also be argued that the legislative
history is murky and the reasons for the Congressional action are
not clear, and that the only really clear statement concerning
the authority of IRS to disclose addresses under current law is
that contained in Senate Armed Services Committee Report Number
97-58 -- that is, that "the acquisition of current addresses from
IRS files is currently authorized by the U.S. Code which, in 26
U.S.C. and 6103(i)(2), explicitly states that a taxpayer's name
and address are not treated as taxpayer return information when
an agency head requests them for use in an administrative or
judicial proceeding."
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                                                                                                         INFORMATION
                                                                                              Date.:    May 17, 1982

       MEMORANDUM FOR:                     SECRETARY REGAN
       THRU:                                   Deputy Secretary McNamar

       From:         Peter J. Wallison ~ ' \
                     General Counsel   rt}'v
       Subject: Disclosure to the Selective Service System




              Confirming our discussion this morning, this memorandum
         outlines my views on whether the Internal Revenue Service may
         disclose certain address information from its Individual Master
         File to the Selective Service System.   For reasons which are set
         out below, I believe that IRS should not in this instance
         disclose such information if the purpose of such disclosure is to
         aid in the prosecution of non- registrants. However, to the
         extent that Selective Service desires only to notify
         non-registrants of their obligations, the IRS may on a
         reimbursable basis undertake such notification for the Selective
         Service.

              Attached is a copy of a memorandum dated April 2, 1982, from
         the Deputy Chief Counsel of IRS which sets out the facts, rele-
         vant statutory provisions, and a legal analysis of this matter.
         The Deputy Chief Counsel concluded that while section 6103(i) (2)
         can be read literally to permit the disclosure of current address
         data to the Justice Department to locate and prosecute indivi-
         duals for failing to register under the Selective Service Act,
         the more defensible legal position, based on an overall reading
         of section 6103 and its legislative history, is that the dis-
         closures cannot be made.  The IRS memorandum also noted the
         possibility of a substantial damage award being made against the
         Government in a class action law suit if a court were to rule
         that the disclosures were contrary to law.

              I am in substantial agreement with the analysis set out in
         the Deputy Chief Counsel's memorandum.  In coming to this con-
         clusion, I am relying also on two other considerations -- not
         addressed in the IRS memorandum -- which I believe tilt the
         balance toward nondisclosure.  These are discussed in detail in
         the attached memorandum, and are summarized below.

                           Initiator             Reviewer               Reviewer             Reviewer       Reviewer       Ex. Sec.
    Surname
lnitia Is/ Date                I                      I                       I                  I              I             I
  OS F 10-01.11 (2·80) which replaces OS 3129 which may be used until stock Is depleted
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     First, the Administration, through the Department of
Justice, is currently seeking to amend section 6103(i)(l) to
permit IRS disclosure, pursuant to court order, of the current
addresses of fugitives from justice.   There would appear to be no
reason to seek such an amendment if Justice could, under current
law (section 6103(i) (2)), simply write to the IRS and request the
current addresses of fugitives. As you know, the Selective
Service proposal contemplates obtaining address information by
just such a written request under section 6103(i)(2).

      Second, in enacting Public Law 9_7 -86 ( the Department of
Defense Auth'orization Act of 1982) Congress considered the very
program which is now being proposed by the Selective Service
System -- that is, to require registrants to provide their Social
Security numbers, to require HHS to provide Selective Service
with the name, date of birth, Social Security number and address
of those required to register, and to require IRS to furnish the
current addresses for any names supplied to IRS by the Selective
Service.

     Although (as detailed in the attached memorandum) the legis-
lative history of Public Law 97-86 on this point is far from
clear, the fact is that ultimat~ly Congress approved the
furnishing of social security data by HHS but eliminated the
furnishing of address information by the IRS. This action,
despite the ambiguities with which it was taken, seriously under-
mines any legal argument which might be made to support dis-
closure; it also indicates (as was strongly suggested in the
comments by the House Ways and Means Committee) that disclosure
would likely be viewed as a challenge to Congressional prero-
gatives.*

     The costs of IRS disclosure also seem high. Congress is
likely to raise strong institutional objections, and will be
strongly supported by various civil libertarian groups. A
potentially costly and burdensome class action law suit is likely
to be filed on behalf of those whose addresses were disclosed,
and the publicity generated by the event will inevitably have
some effect on the public's willingness to disclose information
voluntarily to the IRS.



*    To be sure, as the attached memorandum indicates, the
     legislative history contains some support for disclosure
     most notably a statement by the Senate Armed Services
     Committee, in its Report on the bill, that disclosure would
     be lawful.  However, this is a statement by a Committee
     which is not expert in the tax laws and there is no indica-
     tion that advice on this subject was sought or received from
     the Senate Finance Committee.  House Ways and Means, as
     noted above, expressed an apparently contrary view.
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     The benefits from such disclosure are not as readily
apparent.  If the Selective Service System is seeking current
addresses in order to prosecute a number of non-registrants, it
will have a huge inventory of prosecutions if it merely proceeds
with the tens of thousands of accurate current addresses which it
will obtain from HHS.

     For these reasons, if the purpose of the Selective Service
in soliciting names and addresses from the IRS is prosecution, I
recommend again~t disclosure. However, it may be that the intent
of the Selective Service is simply to notify non-registrants
personally of their responsibility to register.   If so, the IRS
already has in place procedures (copy attached) which would
permit such notification for other federal agencies on a reim-
bursable basis.   I see no reason why Selective Service cannot
simply prepare appropriate communications to non-registrants and
request that the IRS use its facilities to address and mail the
envelopes.   IRS would then not be making any arguably illegal
disclosure, and non-registrants would be receiving notification
of their responsibilities.

Attachments
